Case 1:21-cr-00236-JDB Document 12 Filed 03/19/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. : MAGISTRATE NO. 21-MJ-00269 (GMH)

FEDERICO GUILLERMO KLEIN, : VIOLATIONS:

also known as “Freddie Klein,” : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)

Defendant. : 18 0U,S.C. §§ 1512(¢)(2), 2
: (Obstruction of an Official Proceeding;
Aiding and Abetting)

18 U.S.C. §§ 111(a)(1), (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
: (Disorderly and Disruptive Conduct in a
: Restricted Building or Grounds)
: 18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol Building)
: 400U.S.C. § 5104(e)(2)(F)
: (Act of Physical Violence in the Capitol
: Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
| COUNT ONE
On or about January 6, 2021, within the District of Columbia, FEDERICO

GUILLERMO KLEIN, also known as “Freddie Klein,” committed and attempted to commit an
Case 1:21-cr-00236-JDB Document 12 Filed 03/19/21 Page 2 of 5

act to obstruct, impede, and interfere with a law enforcement officer, that is, officers from the
United States Capitol and Metropolitan Police Department, lawfully engaged in the lawful
performance of their official duties incident to and during the commission of a civil disorder, and
the civil disorder obstructed, delayed, and adversely affected the conduct and performance of a
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, FEDERICO
GUILLERMO KLEIN, also known as “Freddie Klein,” attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, by entering
and remaining in the Lower West Terrace of the United States Capitol without authority,
committing an act of civil disorder, and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, FEDERICO
GUILLERMO KLEIN, also known as “Freddie Klein,” using a deadly or dangerous weapon,
that is, a riot shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and

employee, while such officer or employee was engaged in or on account of the performance of
Case 1:21-cr-00236-JDB Document 12 Filed 03/19/21 Page 3 of 5

official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, FEDERICO
GUILLERMO KLEIN, also known as “Freddie Klein,” did unlawfully and knowingly enter and
remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, FEDERICO
GUILLERMO KLEIN, also known as “Freddie Klein,” did knowingly, and with intent to impede
and disrupt the orderly conduct of Government business and official functions, engage in
disorderly and disruptive conduct in and within such proximity to, a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
| Case 1:21-cr-00236-JDB Document 12 Filed 03/19/21 Page 4 of 5

COUNT SIX
On or about January 6, 2021, within the District of Columbia, FEDERICO
GUILLERMO KLEIN, also known as “Freddie Klein,” did knowingly engage in any act of
physical violence against any person and property in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, FEDERICO GUILLERMO
KLEIN, also known as “Freddie Klein,” willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capito! Buildings
with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
either House of Congress, and the orderly conduct in that building of a hearing before or any
deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

 
Case 1:21-cr-00236-JDB Document 12 Filed 03/19/21 Page 5 of5

COUNT EIGHT.

 

On or about January 6, 2021, in the District of Columbia, FEDERICO GUILLERMO
KLEIN, also known as “Freddie Klein,” willfully and knowingly engaged in an act of physical
violence within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Capt

Attorney of the United States in
and for the District of Columbia.
